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Plaintiff,
VS. CR. NO. 04-20420-Ml
MELVIN EDWARDS

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on August 8, 2005, the Uhited States
Attorney for this district, Lorraine Craig, appearing for the Government and
the defendant, Melvin Edwards, appearing in person and with counsel, Laura
Johnson, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty as to Count 2 of the
Indictment.

Plea colloquy was held and the Court accepted the guilty pleas.

SENTENCING in this Case is SET for THURSDAY, NOVEMBER 3, 2005, at 9:00
a.m., in Courtroom No. 4, on the 9th floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the §§ day of August, 2005.

~ omle

JO PHIPPS MCCALLA
ITED STATES DISTRICT JU'DGE

 

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ISTRICT COURT- WESTERN DISTRICT OF TENNESSEE

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UNITED STAT

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This notice confirms a copy of the document docketed as number 79 in
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Laura J. Johnson

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Lorraine Craig

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Honorable J on McCalla
US DISTRICT COURT

